         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-2777
                 LT Case No. 2017-303066-CFDB
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WILLIAM JOHNSON,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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3.850 Appeal from the Circuit Court for Volusia County.
Leah R. Case, Judge.

William Johnson, Daytona Beach, pro se.

Ashley Moody, Attorney General, Tallahassee, and Kaylee D.
Tatman, Assistant Attorney General, Daytona Beach, for
Appellee.


                        August 20, 2024


PER CURIAM.

    AFFIRMED.


EDWARDS, C.J., and SOUD and BOATWRIGHT, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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